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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                           )
                  v.                       )                 No. 1:23-cv-01599-ABJ-ZMF
                                           )
BINANCE HOLDINGS LIMITED,                  )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                   PLAINTIFF’S MOTION TO UNSEAL OR, IN THE
                ALTERNATIVE, TO WITHDRAW ITS MOTION TO SEAL

       Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this Motion

to Unseal or, in the Alternative, to Withdraw its Motion to Seal that was filed at Dkt. No. 102. 1

(“Motion to Unseal”). As set forth herein, the parties have agreed 2 to unseal many of the

documents filed with the SEC’s Motion to Compel and For Other Relief and Opposition to BAM

Defendants’ Motion for a Protective Order (Dkt. No. 102-2) (“Motion to Compel”). The SEC

also does not oppose the sealing or partial sealing of certain documents designated as

confidential by Defendants BAM Trading Services Inc. and BAM Management US Holdings

Inc. (together, “BAM”), if they continue to request confidentiality. Further, the parties continue


1
  As of the date of this filing, the original motion to seal is still pending before the Court.
Because the documents and information at issue are treated as sealed pending the outcome of the
ruling on the motion, the SEC is now moving to unseal or withdraw the pending motion. See
Local Civil Rule 5.1(h)(1).
2
 The SEC notes that it took BAM over two weeks to respond to the SEC’s repeated requests
concerning proposed redactions, and to state any position regarding unsealing information BAM
had blanketly designated as confidential, which has resulted in considerable delay despite that
BAM has already placed redacted versions of its related filings on the public docket.
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to dispute whether certain documents, as explained herein, should remain under seal or partial

seal (“Disputed Documents”). Accordingly, the SEC moves to unseal or, in the alternative,

withdraws its original motion to seal as follows:

       1.      Documents The Parties Agree Can Be Unsealed

                   a. SEC Motion to Compel (Dkt. No. 102-2)

                   b. SEC’s Proposed Order to the Motion to Compel (Dkt. No.102-3)

                   c. Exhibit 1 to Declaration of Jenifer Farer (“Declaration”) (Dkt. No. 102-6)

                   d. Exhibit 2 to Declaration (Dkt. No. 102-7)

                   e. Exhibit 3 to Declaration (Dkt. No. 102-8)

                   f. Exhibit 4 to Declaration (Dkt. No. 102-9)

                   g. Exhibit 5 to Declaration (Dkt. No. 102-10)

                   h. Exhibit 6 to Declaration (Dkt. No. 102-11)

                   i. Exhibit 7 to Declaration (Dkt. No. 102-12)

                   j. Exhibit 8 to Declaration (Dkt. No. 102-13)

                   k. Exhibit 9 to Declaration (Dkt. No. 102-14)

                   l. Exhibit 11 to Declaration (Dkt. No. 102-16)

                   m. Exhibit 12 to Declaration (Dkt. No. 102-17)

                   n. Exhibit 13 to Declaration (Dkt. No. 102-18)

                   o. Exhibit 22 to Declaration (Dkt. No. 102-27)

                   p. Exhibit 27 to Declaration (Dkt. No. 102-32)

                   q. Exhibit 28 to Declaration (Dkt. No. 102-33)




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         2.      Documents BAM Proposes to be Kept Under Seal that the SEC Does Not
                 Oppose if BAM Requests Confidential Treatment

                      a. Exhibit 17 to Declaration (Dkt. No. 102-22)

                      b. Exhibit 23 to Declaration (Dkt. No. 102-28)

                      c. Exhibit 24 to Declaration (Dkt. No. 102-29)

                      d. Exhibit 25 to Declaration (Dkt. No. 102-30)

                      e. Exhibit 29 to Declaration (Dkt. No. 102-34)

                      f. Exhibit 30 to Declaration (Dkt. No. 102-35)

                      g. Exhibit 31 to Declaration (Dkt. No. 102-36)

         3.      Documents BAM Proposes to be Partially Sealed (Redacted) that the SEC
                 Does Not Oppose if BAM Requests Confidential Treatment 3

                      a. Exhibit 10 to Declaration (Dkt. No. 102-15)

                      b. Exhibit 14 to Declaration (Dkt. No. 102-19)

                      c. Exhibit 15 to Declaration (Dkt. No. 102-20)

                      d. Exhibit 16 to Declaration (Dkt. No. 102-21)

                      e. Exhibit 19 to Declaration (Dkt. No. 102-24)

                      f. Exhibit 21 to Declaration (Dkt. No. 102-26)

                      g. Exhibit 26 to Declaration (Dkt. No. 102-31)

         4.      Disputed Documents

                 a.      Documents BAM Proposes to be Partially Sealed (Redacted) that the SEC
                         Opposes 4

                        i.      Memorandum in Support of the SEC’s Motion Compel (Dkt. No.
                                102-4)

                       ii.      The Declaration of Jenifer Farer (Dkt. No. 102-5)


3
    BAM’s proposed redacted versions of these documents are attached as exhibits to this Motion.
4
    BAM’s proposed redacted versions of these documents are attached as exhibits to this Motion.

                                                  3
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               b.      Documents Nonparty FGMK, LLC Proposes to be Kept Under Seal that
                       the SEC Opposes 5

                     i.       Exhibit 18 to Declaration (Dkt. No. 102-23)

                    ii.       Exhibit 20 to Declaration (Dkt. No. 102-25)

       BAM or BAM’s auditor, FGMK, LLC (“FGMK”) are the proponents of the relevant

confidentiality designations, and therefore, they bear the burden of demonstrating a basis for

withholding these judicial documents from public disclosure. See, e.g., FTC v. Match Grp., Inc.,

No. 1:22-MC-54, 2023 WL 3181351, at *8 (D.D.C. May 1, 2023) (“The burden is on the party

seeking to restrict disclosure ‘to come forward with specific reasons why the record, or any part

thereof, should remain under seal’”) (quoting and citing Johnson v. Greater Southeast

Community Hosp. Corp., 951 F.2d 1268, 1278 (D.C. Cir. 1991)). 6 This Court should order

BAM and FGMK, within seven days, to provide the Court with their basis for maintaining the

seal over these documents. The SEC does not oppose the sealing of the documents described

above except for the Disputed Documents.

       For the foregoing reasons, this Court should enter the proposed order attached hereto.




5
 Based on correspondence with counsel for FGMK, LLC, the SEC is uncertain whether it
continues to assert confidentiality over these documents, but these documents correspond with
proposed redactions from FGMK LLC, and, in abundance of caution, the SEC is noting that they
may be in dispute.
6This approach is also consistent with the procedures the parties have agreed to pursuant to the
proposed protective order the parties have proposed for this litigation. See Dkt. No. 106. In
particular, under the proposed protective order, the burden would be on the designating party to
move the court within a time certain to maintain under seal any documents or information
designated as confidential that is used in a court filing.
                                                  4
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Dated: September 14, 2023                Respectfully submitted,

                                         /s/ Matthew Scarlato
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